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 8                           IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    ANTHONY L. ALLEN, JR.,                             No. 2:22-CV-0011-DAD-DMC-P
12                       Petitioner,
                                                         ORDER
13           v.
14    BRYAN D. PHILLIPS,
15                       Respondent.
16

17                  Petitioner, a state prisoner proceeding pro se, brings this petition for a writ of

18   habeas corpus under 28 U.S.C. § 2254. Pending before the Court is Petitioner’s first motion, ECF

19   No. 43, for an extension of time to file an opposition to Respondent’s motion to dismiss. Good

20   cause appearing therefor based on Petitioner’s declaration indicating the need for additional time

21   due to a recent prison transfer, Petitioner’s motion is granted. Petitioner may file an opposition

22   within 30 days of the date of this order.

23                  IT IS SO ORDERED.

24   Dated: October 23, 2023
                                                            ____________________________________
25                                                          DENNIS M. COTA
26                                                          UNITED STATES MAGISTRATE JUDGE

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